   Case 21-80010                Doc 53          Filed 04/23/21 Entered 04/23/21 10:25:33                                    Desc Main
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